    Case 2:15-cv-05346-CJC-E Document 469-54 Filed 12/10/20 Page 1 of 49 Page ID
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                      Exhibit 1-FF
            Evidence Packet in Support of Defendant’s Motions for Summary Judgment


             U.S.D.C., Central District of California, Case No.: 2:15-cv-05346-CJC-E




                                                                                       Exhibit 1FF
                                                         White Decl. ISO Disney's SJ Motion P.0605
    Case 2:15-cv-05346-CJC-E Document 469-54 Filed 12/10/20 Page 2 of 49 Page ID
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                            #:33491
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    1                      UNITED STATES DISTRICT COURT

    2                     CENTRAL DISTRICT OF CALIFORNIA

    3      T.P., BY AND THROUGH S.P.,   )
           AS NEXT FRIEND, PARENT,      )
    4      AND NATURAL GUARDIAN, ET     )        Case No.:
           AL.,                         )        2:15-CV-05346-R-E
    5                                   )
                       Plaintiff,       )
    6                                   )        Volume II: Pages 71-263
             vs.                        )
    7                                   )        Continuation from
           WALT DISNEY PARKS AND        )        11/12/2019
    8      RESORTS U.S., INC. ,         )
                                        )
    9                  Defendant.       )
           ____________________________ )
   10

   11

   12

   13                  VIDEO DEPOSITION OF MERCEDES ROSAS

   14                            November 13, 2019

   15                                9:16 a.m.

   16

   17

   18                       415 Mission St., Ste 5600

   19                       San Francisco, California

   20

   21

   22

   23      REPORTED BY:

   24      Tammy Moon, CSR No. 13184, CRR, RPR

   25


                                   U.S. LEGAL SUPPORT                       Exhibit 1FF
                                              White Decl. ISO Disney's SJ Motion P.0606
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    Case 2:15-cv-05346-CJC-E Document 469-54 Filed 12/10/20 Page 3 of 49 Page ID
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    1      APPEARANCES:

    2

    3      FOR PLAINTIFF:

    4      ARIAS SANGUINETTI WANG & TORRIJOS, LLP
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    7

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    9      MCDERMOTT WILL & EMERY
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   10      BY: JULIE H. MCCONNELL, ESQ.
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   11      Washington, DC 20001-1531
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   12      Kscanlon@mwe.com

   13

   14      ALSO PRESENT:    MICHAEL SANTY, VIDEOGRAPHER

   15

   16

   17

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                                   U.S. LEGAL SUPPORT                       Exhibit 1FF
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    1                       San Francisco, California

    2               Wednesday, November 13, 2019, 9:16 a.m.

    3                THE VIDEOGRAPHER:      Good morning.       We are on the

    4      record at 9:16 a.m. on November 13th, 2019.

    5                Audio and video recording will continue to take

    6      place until all parties agree to go off the record.

    7      Please note that microphones and -- are sensitive and

    8      may pick up whispering and private conversations.

    9                This is the video recorded deposition of

   10      Mercedes Rosas, taken by counsel for the defendant in

   11      the matter of T.P., by and through S.P, as next friend,

   12      parent, and natural guardian, et al., versus Walt Disney

   13      Parks and Resorts U.S., Inc. filed in the United States

   14      District Court, Central District of California.

   15                The deposition is being held at McDermott Will

   16      & Emery located at 415 Mission Street, Suite 5600, San

   17      Francisco, California.

   18                My name is Michael Santy.         I'm the videographer

   19      on behalf of U.S. Legal Support, located at 201 Mission

   20      Street, Suite 600, San Francisco, California.

   21                The court reporter is Tammy Moon, on behalf of

   22      U.S. Legal Support.

   23                I am not related to any party in this action,

   24      nor am I financially interested in the outcome.

   25                Counsel will state their appearances for the


                                   U.S. LEGAL SUPPORT                       Exhibit 1FF
                                              White Decl. ISO Disney's SJ Motion P.0608
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    1      record, after which the court reporter will swear in the

    2      witness.

    3                 MR. FELDMAN:     Eugene Feldman for the plaintiff.

    4                 MR. SCANLON:     Kerry Scanlon for the defendant.

    5                 MS. MCCONNELL:      Julie McConnell for the

    6      defendant.

    7                             MERCEDES ROSAS,

    8               called as a witness, having been duly

    9               sworn, testified as follows:

   10                 THE WITNESS:     Yes.

   11                                 EXAMINATION

   12                 MR. SCANLON:

   13          Q.     Good morning, Ms. Rosas.

   14          A.     Good morning.

   15          Q.     You understand this is a continuation of your

   16      deposition that started yesterday?

   17          A.     Yes.

   18          Q.     Since 2013, have you had any health issues

   19      yourself that -- that required going to see a doctor?

   20          A.     Yes.

   21          Q.     What?

   22          A.     High blood pressure.

   23          Q.     Okay.   And what -- what year, approximately,

   24      did you suffer from high blood pressure?

   25          A.     Since the birth of my first son, 2009.


                                     U.S. LEGAL SUPPORT                       Exhibit 1FF
                                                White Decl. ISO Disney's SJ Motion P.0609
                                       (877) 479-2484
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    1          Q.    Since 2009?

    2          A.    Mm-hmm.

    3          Q.    So that was a problem that started when?

    4          A.    With pregnancy.

    5          Q.    When?

    6          A.    With pregnancy.

    7          Q.    Okay.   So in 2009, roughly?

    8          A.    Mm-hmm, yes.

    9          Q.    And what's the name of the doctor you saw for

   10      that?

   11          A.    Well, since it was pregnancy related, it was

   12      the OB-GYN that was attending me during pregnancy.

   13          Q.    And was that a man or woman?

   14          A.    A woman -- woman.

   15          Q.    And did you continue to see her after --

   16          A.    No, after the delivery, no.

   17          Q.    Okay.   So --

   18          A.    It was a regular doctor.

   19          Q.    You saw a regular doctor for high blood

   20      pressure after that?

   21          A.    Yes.    It was controlled after the delivery, but

   22      then it came back with the second pregnancy.                It came

   23      back with the third pregnancy, so it's on and off.                  I

   24      can control it with medication or exercise and losing

   25      weight.


                                     U.S. LEGAL SUPPORT                       Exhibit 1FF
                                                White Decl. ISO Disney's SJ Motion P.0610
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    1          Q.      So when you had your daughter, your second

    2      child, you experienced some high blood pressure again?

    3          A.      Yes.

    4          Q.      And did you see your OB-GYN at that time?

    5          A.      Yes, sir.

    6          Q.      And that was around 2011?

    7          A.      Correct.

    8          Q.      And then your third child, is that a boy or

    9      girl?

   10          A.      A boy.

   11          Q.      A boy.    Same thing happened?

   12          A.      Mm-hmm.

   13          Q.      And you saw your OB-GYN for high blood

   14      pressure?

   15          A.      Yes, sir.

   16          Q.      Other than those three times connected with

   17      your pregnancies, did you see any other doctors since

   18      2009 for high blood pressure?

   19          A.      No.     I have seen the -- doctor -- a regular

   20      doctor for physical exams, and you know, also

   21      blood-related high -- high blood pressure before I got

   22      pregnant with my third.

   23          Q.      Okay.    But that was -- so that was between

   24      pregnancies?

   25          A.      Mm-hmm.


                                      U.S. LEGAL SUPPORT                       Exhibit 1FF
                                                 White Decl. ISO Disney's SJ Motion P.0611
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    1          Q.    You had high blood pressure?

    2          A.    Mm-hmm.

    3          Q.    And were you prescribed any medication for

    4      that?

    5          A.    I opted not to take medication.            I lost weight

    6      and I had an exercise routine, and that controlled the

    7      high blood pressure.

    8          Q.    Okay.   And other than high blood pressure, you

    9      know, since 2013 or so, have you had any other health

   10      issues?   I mean I -- when I say "issues," I know you

   11      were pregnant couple times or at least one time since

   12      then, but any health problems that required you to see a

   13      doctor?

   14          A.    No, not that I recall.

   15          Q.    Okay.   So you'd been relatively healthy then?

   16          A.    Correct.

   17          Q.    Is that right?

   18          A.    Yes.

   19          Q.    And you consider yourself a healthy 39-year-old

   20      woman today?

   21          A.    Pretty much.

   22          Q.    And that's been true for the past six or seven

   23      years?

   24          A.    Yes.

   25          Q.    Okay.   Was -- was meeting the new man in your


                                    U.S. LEGAL SUPPORT                       Exhibit 1FF
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    1      life and marrying him, was that a source of happiness

    2      for you?

    3          A.     Yeah.

    4          Q.     Okay.   And I take it you haven't seen any other

    5      doctors, then, in the past six or seven years other than

    6      what you just described.        Is that right?

    7          A.     I visited -- at the clinic I attend, they have

    8      acupuncture, so I attended twice a month for stress

    9      related.

   10          Q.     When was that?

   11          A.     Prior to my third pregnancy.

   12          Q.     Okay.   And was -- what was the stress related

   13      to then?

   14          A.     Well --

   15          Q.     It was in 2018?

   16          A.     Correct.

   17          Q.     Okay.   What was the stress related to?

   18          A.     Raising two kids with disabilities is pretty

   19      stressful.

   20          Q.     Okay.     And did that help with that condition?

   21          A.     Yes.

   22          Q.     Okay.

   23          A.     Also for sciatic pain.         After my first

   24      pregnancy, I suffered from sciatic pain.

   25          Q.     So you saw an acupuncturist then too?


                                     U.S. LEGAL SUPPORT                       Exhibit 1FF
                                                White Decl. ISO Disney's SJ Motion P.0613
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    1                (Exhibit 2 was marked for identification.)

    2          Q.    Have you ever seen this document that's marked

    3     Exhibit 2 to your deposition that's been placed in front

    4     of you?

    5          A.    Yes.

    6          Q.    When did you see it?

    7          A.    It was the report given to me to diagnose my

    8     child with autism.

    9          Q.    And it was -- the evaluation was March 21,

   10     2012, correct?

   11          A.    Correct.

   12          Q.    And how did you -- how was it that you ended up

   13     at this particular clinic or the psychologist Larissa

   14     Tarry?

   15          A.    It -- everything back then was -- any

   16     evaluation or assessment of possible disability is --

   17     was done through Regional Center of the East Bay.                So

   18     they told me you need to come this day, you'll have this

   19     assessment.    And I showed up, and that's how it was.

   20          Q.    Who was -- who said that it had to be through

   21     the regional center; who said that?

   22          A.    My pediatrician referred us to regional center.

   23          Q.    Okay.   And was this covered by some kind of

   24     insurance or who -- who paid for it?

   25          A.    State funded.


                                   U.S. LEGAL SUPPORT                       Exhibit 1FF
                                              White Decl. ISO Disney's SJ Motion P.0614
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    1     individuals with autistic spectrum disorders through

    2     early intervention.      Indeed, Yaxtin is already showing

    3     improvements in many areas, and his mother had several

    4     stories of celebrated gains since starting ABA therapy."

    5                Do you see that?

    6          A.    Yes.

    7          Q.    Okay.   Is that further -- a further example of

    8     where you were telling a doctor that you felt he had

    9     made significant progress from his ABA therapy?

   10          A.    Yes.

   11          Q.    Okay.   And what does the last sentence mean

   12     when it says, "It is encouraging that he's already

   13     receiving evidence-based treatments and responding

   14     well."

   15                Is that just referring to the ABA therapy?

   16          A.    Yes.

   17          Q.    Okay.   When you -- would you look at page 12 of

   18     13 and -- and at 11 in paragraphs 12, they list a number

   19     of books that parents may wish to read, educate

   20     themselves on best practices for children with autism.

   21     Do you see that -- those two lists under number 11 and

   22     number 12?

   23          A.    Yes.

   24          Q.    Did you ever read any of those books?

   25          A.    No, sir.


                                   U.S. LEGAL SUPPORT                       Exhibit 1FF
                                              White Decl. ISO Disney's SJ Motion P.0615
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    1     mentions in the second paragraph of that -- top of that

    2     page, it says, "Ms. Rosas indicated that she and her

    3     extended family have been very involved in his ABA

    4     therapy -- ABA program and are doing their very best to

    5     implement technique outside of therapy."

    6                What other family members were involved in his

    7     ABA therapy?

    8          A.    By "involved," it -- it meant that I would

    9     relay the techniques learned during ABA so that they

   10     would apply it if they were ever around with him.                   It's

   11     not that they were sitting down along with me observing

   12     the ABA session.

   13          Q.    Right.    But who were the family members who

   14     were, quote, involved or very involved in his ABA

   15     program?    Who were they?

   16          A.    My mom.    The people living in the house.               Not

   17     my brother, but my mom mainly.

   18                I would relate to her like this is how we speak

   19     to him if you want him to say something.                This is -- if

   20     he's pointing at something because he wants chips, you

   21     make sure you say "I want chips" so he can repeat it and

   22     he'll get it when he repeats the sentence.

   23          Q.    Okay.    Okay.     And were they also involved in

   24     the type of ABA therapy that I'm sure you learned about,

   25     which is when he wanted something, that you would


                                      U.S. LEGAL SUPPORT                       Exhibit 1FF
                                                 White Decl. ISO Disney's SJ Motion P.0616
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    1     sometimes try to redirect him if it was something that

    2     you didn't think he should be asking for or if it was

    3     something he was asking for repeatedly.              Did you tell

    4     them about that as well?

    5          A.    Yes.

    6          Q.    Okay.    And did you practice that yourself; that

    7     technique of ABA therapy?

    8          A.    Yes.

    9          Q.    Okay.    How close is the relationship between

   10     your son and your mom?

   11          A.    Very close.

   12          Q.    And when you moved -- well, since 2010, has she

   13     worked outside the home?

   14          A.    Like in another city or another --

   15          Q.    No.     Just -- did she have a job?

   16          A.    Yes.

   17          Q.    Did she -- you mentioned she was cleaning at

   18     some point?

   19          A.    Yes.     She still does.

   20          Q.    She still does that?

   21          A.    Yes.

   22          Q.    Okay.    And your brother was employed.            Is that

   23     right?

   24          A.    Yes.

   25          Q.    You mentioned that.        And was his wife employed


                                    U.S. LEGAL SUPPORT                       Exhibit 1FF
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    1     bottom?

    2          A.    Mm-hmm.

    3          Q.    And it says, "55 was the scored range average;

    4     no problem indicated."      Do you see that?

    5          A.    Mm-hmm.

    6          Q.    So they found no problem whatsoever in your son

    7     in terms of any behavioral rigidity, right?

    8          A.    Correct.

    9          Q.    And on the next page, rather than contesting

   10     these observations, you actually agreed with them,

   11     didn't you?

   12                On the first full paragraph of page six where

   13     it says, and I'm quoting, "Yaxkin's mother also notes

   14     the growth he has made in his language, socialization,

   15     and behavior since he was first assessed.

   16                "She credits his ABA therapists who have

   17     supported this growth as well as the program at Burbank

   18     Preschool."

   19                Do you see that; what I just read?            It's on

   20     page six, ma'am.

   21          A.    Mm-hmm.

   22          Q.    In this -- first full paragraph?

   23          A.    Mm-hmm.

   24          Q.    So you, in a sense, were agreeing that he made

   25     a lot of progress, including in his behavior, right?


                                   U.S. LEGAL SUPPORT                       Exhibit 1FF
                                              White Decl. ISO Disney's SJ Motion P.0618
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    1          A.    Right.

    2          Q.    And what is the reference to Burbank Preschool?

    3     I hadn't heard that name.

    4          A.    It was the preschool he attended for three

    5     years before transitioning.

    6          Q.    Okay.    Before going to Burckhalter?

    7          A.    Yes.

    8          Q.    Okay.    It may just not have come up yesterday.

    9     I may not have asked you the name of it.             But that was

   10     the preschool he went to for three years?

   11          A.    Yes.

   12          Q.    Okay.    And you felt that that program helped

   13     with his behavior and socialization as well as the ABA

   14     therapy, correct?

   15          A.    Yeah, it improved, yeah.

   16          Q.    Do you see down in the -- under the summary

   17     paragraph, that long paragraph about two thirds of the

   18     way through that says, "Yaxkin's personal daily living

   19     skills are another area of personal strength.               Yaxkin

   20     has adjusted well to his new classroom and is able to

   21     follow the classroom routines, easily transitioned

   22     between activities."

   23                It's kind of what we talked about before.               It

   24     says his coping skills are another area of growth.                 So

   25     that's basically what we discussed before, right?


                                   U.S. LEGAL SUPPORT                       Exhibit 1FF
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    1          A.    Mm-hmm.

    2          Q.    And then it says, "while he's sometimes

    3     initially non-complaint with requests, he is easily

    4     redirected and will follow adult directions."

    5                Do you see that?

    6          A.    Mm-hmm.

    7          Q.    Did you -- did you contest that conclusion?

    8          A.    No, because that pretty much says what I stated

    9     before that, you know, he would be noncompliant or

   10     defiant but then redirected to follow direction.

   11          Q.    Well, it says "while he is sometimes initially

   12     noncompliant."     That means not all the time, but some of

   13     the times, he'd be initially noncompliant and then it

   14     says he is easily redirected and will follow adult

   15     directions.    So you agreed with that, right?

   16          A.    Well, like I said, that's the observation they

   17     made at school, so yeah.

   18          Q.    Well, you just said that this expressed your

   19     view.

   20          A.    At home, yes.

   21          Q.    Okay.   So you agree with this conclusion that I

   22     just read from this paragraph, right?

   23          A.    Yes.

   24          Q.    That he was acting that way?          Okay.

   25                And in -- in fact, at the end of this, this


                                   U.S. LEGAL SUPPORT                       Exhibit 1FF
                                              White Decl. ISO Disney's SJ Motion P.0620
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    1          Q.    And that relates to something that was a

    2     baseline level that was taken as of December 2013,

    3     correct?

    4          A.    Correct.

    5          Q.    And then by 2016, if you go down a couple of

    6     paragraphs, three years later or not quite three years

    7     later, but in 2016 in January, he had made enough

    8     progress that there was a goal as -- as described here

    9     that he -- there would be an absence of yelling, crying,

   10     aggression, and flopping in 80 percent of the

   11     opportunities they presented to him, correct?

   12          A.    Correct.

   13          Q.    That was the goal?

   14          A.    Yes.

   15          Q.    And he had made progress toward that goal,

   16     hadn't he?

   17          A.    Yes.

   18          Q.    So he had gotten a lot better from where it was

   19     in 2013, right?

   20          A.    Correct.

   21          Q.    And was your experience with him at home that

   22     -- back in 2013 that he -- that that -- was that

   23     consistent with your experience; what this report says?

   24          A.    Yes.

   25          Q.    Okay.   All right.     So when you told me


                                   U.S. LEGAL SUPPORT                       Exhibit 1FF
                                              White Decl. ISO Disney's SJ Motion P.0621
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    1     yesterday in your deposition that -- when you tried

    2     using DAS in 2013 when you went back in November,

    3     remember, for your family visit, and that he had

    4     meltdowns?    That's what you testified to?

    5          A.    Yes.

    6          Q.    That was right during the time when he was

    7     having that kind of reaction to everything when he

    8     didn't get his way, right?        Correct?

    9          A.    Yes.

   10          Q.    Okay.   And in fact, this December 13th is two

   11     months after he went to Disney, right?            Almost the same

   12     time, but it was a little bit later, right?

   13          A.    Correct.

   14          Q.    Okay.   What -- you mentioned yesterday that he

   15     was -- you went on ten to 15 rides when you went to

   16     Disney the first time on Memorial Day, and that was just

   17     you, your husband, and your son -- was your daughter

   18     there?

   19          A.    Yes.

   20          Q.    So the four of you; this was a test visit you

   21     talked about, right?

   22          A.    Yes.

   23          Q.    Which rides were they; the ten to 15 rides you

   24     went on, which rides were they?

   25          A.    I don't recall, sir.


                                   U.S. LEGAL SUPPORT                       Exhibit 1FF
                                              White Decl. ISO Disney's SJ Motion P.0622
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    1                MR. SCANLON:

    2          Q.    Can you answer my question, please?              Is it your

    3     testimony that someone who is -- whose effective age in

    4     terms of remembering things and communicating is a

    5     year-and-a-half old could remember after a single visit

    6     the ten or 15 rides they went on when he comes back four

    7     or five months later.       Is that your testimony?

    8          A.    Yes.

    9          Q.    Okay.   So but you don't have any way of knowing

   10     whether he remembered them, do you, because you don't

   11     recall what those rides are?

   12          A.    No, I don't.

   13          Q.    And you don't know whether he knew, because you

   14     didn't know what the order was or what the rides were,

   15     correct?

   16          A.    No.

   17          Q.    Let's take a break.        Ten minutes.

   18                MR. FELDMAN:     Sure.

   19                THE VIDEOGRAPHER:       Watch the mike.        The time is

   20     10:37.    We're off the record.

   21                (Break taken.)

   22                THE VIDEOGRAPHER:       The time is 10:52, and we're

   23     on the record.

   24                MR. SCANLON:

   25          Q.    Just before we took a break, I just want to


                                    U.S. LEGAL SUPPORT                       Exhibit 1FF
                                               White Decl. ISO Disney's SJ Motion P.0623
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    1          A.    No.

    2          Q.    And do you remember anything about what

    3     happened on the first day of that three-day visit?

    4          A.    If I'm not mistaken, I believe it was --

    5          Q.    Well, before you answer, can you -- just give

    6     me this.    Tell me what your level of recollection was as

    7     to what happened.      I know you probably can tell me the

    8     people who were there.       But in terms of where you went,

    9     whether -- how long you were there, what time you

   10     arrived, what rides you went on, if any, do you remember

   11     any of that?

   12          A.    No, nothing.

   13          Q.    Nothing?

   14          A.    No.

   15          Q.    Of any of that?

   16          A.    No.

   17          Q.    Okay.    What about the second day?

   18          A.    No.     Pretty much the same.       I don't -- I don't

   19     have recollection.

   20          Q.    You don't have any recollection?

   21          A.    Huh-uh.

   22          Q.    What about the third day?

   23          A.    I think the third day was the hardest day

   24     behavior-wise for my son, so I -- I kind of remember

   25     that that was hard.      But no recollection as to -- the --


                                    U.S. LEGAL SUPPORT                       Exhibit 1FF
                                               White Decl. ISO Disney's SJ Motion P.0624
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    1     the rides or timeframe.

    2          Q.     Okay.    And so you don't recall how many rides

    3     you went on any of those days, right?

    4          A.     No.

    5          Q.     Do you know how Disneyland is organized?

    6          A.     No, sir.

    7          Q.     Like do you know whether there's one park or

    8     two parks or three parks or four parks?               Do you know

    9     anything like that?

   10          A.     Well, from my first visit in May, I knew there

   11     was two parks.       It was the Disneyland and the California

   12     Adventure.

   13          Q.     Okay.

   14          A.     Yeah.

   15          Q.     Okay.    But do you remember when you went back

   16     in November, which one of those you went to on any of

   17     the days?

   18          A.     No.     Again, for the second visit, we had the

   19     hopper pass, so I don't recall which one I went in

   20     first.

   21          Q.     Right.

   22          A.     But I -- I visited both parks.

   23          Q.     Okay.    But you don't remember any specifics?

   24          A.     No, sir.

   25          Q.     About which rides you went on; you don't


                                     U.S. LEGAL SUPPORT                       Exhibit 1FF
                                                White Decl. ISO Disney's SJ Motion P.0625
                                       (877) 479-2484
   Case 2:15-cv-05346-CJC-E Document 469-54 Filed 12/10/20 Page 22 of 49 Page ID
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    1          A.     Correct.

    2          Q.     Okay.   And did you drive to get there?

    3          A.     Yes.

    4          Q.     And you drove back afterwards too?            I think I

    5     asked you about the trips down in -- in May.                I'm not

    6     sure if I asked you that, but were the trips about the

    7     same as you described yesterday?

    8          A.     Yes, sir.

    9          Q.     Okay.   Both to and from?

   10          A.     Yes.

   11          Q.     And whose car did you go in?

   12          A.     In our car.

   13          Q.     In your -- in the car you described to me?

   14          A.     Yes.

   15          Q.     Okay.   Did you drive or did your husband drive?

   16          A.     No.

   17          Q.     Or did you both drive?

   18          A.     He drove.

   19          Q.     The entire time?

   20          A.     Yes.

   21          Q.     Okay.   And did you stop anywhere along the way?

   22     Did you -- did you -- was this a trip where you went

   23     down there to do this or did you stop in any other

   24     cities or go to any other places as part of this trip in

   25     November?


                                    U.S. LEGAL SUPPORT                       Exhibit 1FF
                                               White Decl. ISO Disney's SJ Motion P.0626
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    1     when we were waiting for a turn for a ride.

    2          Q.    But -- but you don't remember any -- which

    3     rides you went on, right?

    4          A.    No.

    5          Q.    You said you have no recollection of that?

    6          A.    No.

    7          Q.    So how do you know that he was having problems

    8     waiting for rides if you don't even remember which rides

    9     you went on?

   10                (Brief pause.)

   11          Q.    Can you answer that?

   12          A.    Well, I -- I just know that it was a hard time

   13     for us.

   14          Q.    Well, you've already testified, Ms. Rosas, that

   15     at this age, remember we looked at the document two

   16     months later, he would have -- he would get upset and --

   17     and yell and flop and do things like that 100 percent of

   18     the times if he didn't get exactly what he wanted?

   19          A.    Correct.

   20          Q.    Right.    You already said that.         So -- so if he

   21     did that at Disneyland, it wouldn't have been anything

   22     different than what he did anywhere else, right?                At

   23     school, at home, or anywhere else, correct?

   24          A.    Correct.

   25          Q.    Okay.    So why are you suing Disney then?            If


                                   U.S. LEGAL SUPPORT                       Exhibit 1FF
                                              White Decl. ISO Disney's SJ Motion P.0627
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    1            Q.   Okay.    So what's the problem with that?

    2            A.   Well, it was a new system.            We didn't know.         It

    3     was completely different from what he had experienced in

    4     May.

    5            Q.   Right.    And do you know anything about why they

    6     changed their system between May and November?

    7            A.   I heard it on the news.

    8            Q.   There was abuse and misuse of the system,

    9     right?

   10            A.   Correct.

   11            Q.   By people who were basically pretending to have

   12     a disability, and they were abusing the system.                    And

   13     Disney could not demand medical proof of that.                   You

   14     heard that, didn't you?

   15            A.   Not that part.        I just heard that there was

   16     abuse of the system.

   17            Q.   Okay.    Okay.     And they had to change the system

   18     so they would no longer give everybody immediate access

   19     whenever they wanted it, right?

   20            A.   Correct.

   21            Q.   And do you have any information to -- yourself,

   22     do you personally have any information that there wasn't

   23     abuse at the system that required that to be changed?

   24            A.   I'm sorry.    Can you ask that again?

   25            Q.   Right.    Do you have any information that that


                                       U.S. LEGAL SUPPORT                       Exhibit 1FF
                                                  White Decl. ISO Disney's SJ Motion P.0628
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    1     -- that Disney was not doing this for legitimate

    2     reasons; that they're -- that -- do you have anything to

    3     challenge Disney's conclusion that this was abuse and

    4     they had to change it?

    5          A.    No, I don't have any information.

    6          Q.    Okay.   Okay.     So you don't think that the --

    7     the fact that they changed the system is evidence of any

    8     bad faith or -- on their part, do you?

    9          A.    I don't -- I don't know what -- I mean --

   10          Q.    You don't -- you don't think that, do you?

   11          A.    No.

   12          Q.    Okay.   And so if they had to change the system

   13     because the prior system was not sustainable, it was

   14     being abused and it was affecting everybody in a

   15     negative way and they adopted this new system, you would

   16     admit, would you not, that the new system still meant

   17     you did not have to stand in the regular line, right?

   18     You could go and do other things while you waited for

   19     your return time, correct?

   20          A.    Correct.

   21          Q.    You understood that, right?

   22          A.    Yes.

   23          Q.    And you also understood that you could use fast

   24     pass in addition to this DAS pass as another way of

   25     getting times when you would not have to stand in a


                                     U.S. LEGAL SUPPORT                       Exhibit 1FF
                                                White Decl. ISO Disney's SJ Motion P.0629
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    1          Q.    Okay.

    2          A.    But it wasn't like early in the morning, for

    3     sure.

    4          Q.    It was not?

    5          A.    It was not.

    6          Q.    And some of those popular rides, those fast

    7     passes are going to be gone later in the day, right?

    8          A.    Right.    Learn the hard way.

    9          Q.    And you don't blame Disney for that, do you?

   10          A.    No.

   11          Q.    Okay.    So but are you also aware that with a

   12     DAS card that the time, your return time, is the posted

   13     wait time minus ten minutes.         Did you understand that?

   14          A.    No.

   15          Q.    You didn't.    So how did you -- what was your

   16     understanding under the DAS system when you went in

   17     November, the second time to Disney, what was your

   18     understanding in terms of when the return time would be

   19     determined?

   20                Like if you go and get a return time, how did

   21     they determine when the time was that you could come

   22     back and get on the ride?

   23          A.    I believe there was just one kiosk in each

   24     park, and when we approached the kiosk, they -- they

   25     asked me what ride I wanted.         And I told them, okay.           I


                                   U.S. LEGAL SUPPORT                       Exhibit 1FF
                                              White Decl. ISO Disney's SJ Motion P.0630
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    1          A.    Mm-hmm.

    2          Q.    And that's -- in every one of these cases, they

    3     took the wait time, subtracted ten minutes, and -- and

    4     then that was your return time.          And if it was like when

    5     the wait time was only five minutes, they -- you could

    6     go on it right away.

    7          A.    Right.

    8          Q.    Right?    So do you see that this is -- this

    9     shows you how you -- your return time was always ten

   10     minutes less than the posted wait time, right?

   11          A.    Mm-hmm.

   12          Q.    Okay.    And you have to say yes.

   13          A.    Yes.

   14          Q.    Okay.    And during those -- during that time,

   15     and in fact, your return time was always fairly soon

   16     after the time they gave you this time, right?               Wouldn't

   17     you agree with that?

   18          A.    Yes.

   19          Q.    Okay.    And during that time, your husband --

   20     you go on one ride, he could have gone to the kiosk to

   21     get the next one.     And you could have gone with your son

   22     to the bathroom, to get something to eat, to watch a

   23     parade, to do anything.

   24                You could have gone -- you could have gone on

   25     another ride immediately as long as it was a 15-minute


                                   U.S. LEGAL SUPPORT                       Exhibit 1FF
                                              White Decl. ISO Disney's SJ Motion P.0631
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    1     time or less because they would waive you in, correct?

    2          A.    Mm-hmm.

    3          Q.    You have to say yes.

    4          A.    Yes, yes.

    5          Q.    Okay.   So what's the problem with this system?

    6     Even though it was different from the one before,

    7     wouldn't you agree that it's still a reasonable system

    8     because you would never have to take your son in the

    9     regular line and wait there.

   10                You know, you saw people queuing in line,

   11     right?    Including families with children, right?

   12          A.    Yes.

   13          Q.    And if you have a two year old or a four year

   14     old or a six year old, that's not easy, necessarily, for

   15     them even if they don't have autism, right?

   16          A.    Correct.

   17          Q.    Okay.   They had to stand in line.            That's

   18     something you never had to do with this DAS pass, right?

   19     You could go do something else for this short period of

   20     time until the return time came up, correct?

   21          A.    Correct.

   22                MR. FELDMAN:     Counsel, you asked her a

   23     question, and you didn't let her give an answer.

   24                MR. SCANLON:     What question did I ask her?

   25                MR. FELDMAN:     You said "what's wrong with this


                                    U.S. LEGAL SUPPORT                       Exhibit 1FF
                                               White Decl. ISO Disney's SJ Motion P.0632
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    1          Q.    Okay.   So you didn't split up?

    2          A.    No, we didn't.

    3          Q.    You all went back there?

    4          A.    Yes, I believe so.

    5          Q.    And you -- you agree with me that if only he

    6     had gone back, for example, you could have done

    7     something with your son so that he didn't have to

    8     traipse back to the -- to the -- one of the kiosks,

    9     right?

   10          A.    Yes.

   11          Q.    Okay.   And it looks like you went on five rides

   12     on -- well, the first day you got this was the 15th.                  So

   13     it looks like you went on five rides that day at around

   14     9:50, then 2:35, then 3:05, and 3:30, and then 7:35.

   15                And then it -- you can tell me if you -- you

   16     said you didn't really recall, but it appears that the

   17     next three were the next day.         Because you wouldn't have

   18     gone on a ride with your son at 11:53 at night, would

   19     you?

   20          A.    No.

   21          Q.    So does that --

   22          A.    I --

   23          Q.    Does that suggest to you that you came back the

   24     next day and went on a ride at 11:53 a.m., in the

   25     morning?


                                   U.S. LEGAL SUPPORT                       Exhibit 1FF
                                              White Decl. ISO Disney's SJ Motion P.0633
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    1     right?

    2                (The witness nods.)

    3          Q.    And you -- somebody went and got both of these

    4     return times from the kiosk, right?

    5          A.    Yes.

    6          Q.    But you said you didn't have to use these

    7     because your family waited in the regular line in -- in

    8     Space Mountain, and it was 45 minutes.             And then when

    9     you got to the front, they allowed you to get in front

   10     with them?

   11          A.    I believe so, yes.

   12          Q.    Okay.    So -- so even though you went and got

   13     these return times, you didn't actually use them because

   14     you didn't need them, right?

   15          A.    No.

   16          Q.    Okay.    So what's your complaint about DAS,

   17     given those two rides and what you've just testified?

   18     Because you were able to get on the ride.              You could

   19     have either gone right in --

   20                MR. FELDMAN:     Counsel, can you let her answer

   21     the question?      Instead of just this endless recitation

   22     on your part?

   23                (Simultaneous colloquy.)

   24                MR. SCANLON:     I'm asking --

   25                (Simultaneous colloquy.)


                                    U.S. LEGAL SUPPORT                       Exhibit 1FF
                                               White Decl. ISO Disney's SJ Motion P.0634
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    1          A.    Because the previous day was a lot of walking

    2     to go get this, that I decided just to give up on -- on

    3     getting this.

    4          Q.    I see.    But the previous day, you used it to go

    5     on six different rides, correct?

    6          A.    Correct.

    7          Q.    And that prevented you from having to wait in

    8     the regular standby line when you -- when you used DAS

    9     in that way, didn't it?

   10          A.    Yes.

   11          Q.    Okay.    And you would agree, would you not, that

   12     if you can go on a ride without getting in that regular

   13     standby line is a big benefit, right?

   14          A.    No.     Not for my child.

   15          Q.    So you'd rather have your child stand in the

   16     line?

   17          A.    No.

   18          Q.    So it's much easier for your child to avoid

   19     standing in the regular line that snakes all the way

   20     around for 30 minutes or more, right?

   21          A.    Yes.

   22          Q.    And -- and just being able to go on when the

   23     return time arrives, correct?          That's a lot easier than

   24     standing in the regular line, isn't it, for your child?

   25          A.    Yes.


                                    U.S. LEGAL SUPPORT                       Exhibit 1FF
                                               White Decl. ISO Disney's SJ Motion P.0635
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    1          Q.    So your complaint about DAS boils down to

    2     having to walk to the kiosk, right?

    3          A.    Mm-hmm.

    4          Q.    That's what you're really complaining about,

    5     right?

    6          A.    At that time when we visited, it was a lot of

    7     walking.

    8          Q.    Right.    But that's what -- basically, that's

    9     what you complained about the system was?

   10          A.    A lot of back and forth, yes.

   11          Q.    Okay.    And that's why you filed a federal

   12     lawsuit; because you had to go to the kiosk?

   13          A.    No, I told you it was because it was a very

   14     traumatic experience for my family.             It was really hard

   15     on us, all of us.

   16          Q.    But it -- what was hard was walking to the

   17     kiosk.    That's what you're complaining about?

   18          A.    A lot of the meltdowns my son had was because

   19     of the back and forward, yes.

   20          Q.    Well, he had meltdowns any time at that age

   21     when he didn't get he wanted.           We've already covered

   22     that, correct?

   23          A.    Okay.    Yes.

   24          Q.    Right?    So why would you blame Disney for

   25     something that happened every other place in his life,


                                     U.S. LEGAL SUPPORT                       Exhibit 1FF
                                                White Decl. ISO Disney's SJ Motion P.0636
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    1     whether it's home or school; whenever he didn't get a

    2     preferred activity, he'd have that kind of a reaction?

    3     Why would you blame Disney?

    4          A.    It was a different experience from the first

    5     visit.

    6          Q.    Well, of course.      But you would agree that

    7     anybody would prefer to go on a ride with no wait

    8     whatsoever, right?      Do you know anybody on the planet

    9     that would not prefer that to a different system?

   10          A.    No.

   11          Q.    Right.    So the ability to go to a ride and get

   12     on immediately, which is what you were able to do with

   13     the DAS system, that was like the best possible thing in

   14     the world, right?

   15          A.    Correct.

   16          Q.    Right.    And then when Disney had to change that

   17     because of the abuse, they came up with a different

   18     system.    But it still gave you a significant advantage

   19     over everybody else who had to wait in line, didn't it?

   20          A.    Well, yeah.     He's not standing in line.

   21          Q.    Right.     And that's a significant advantage over

   22     everybody else who had kids, right?

   23          A.    Yes.

   24          Q.    Okay.    Let's take another quick break.

   25                THE VIDEOGRAPHER:       The time is 11:39, and we


                                    U.S. LEGAL SUPPORT                       Exhibit 1FF
                                               White Decl. ISO Disney's SJ Motion P.0637
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    1     are off the record.

    2                 (Break taken.)

    3                 THE VIDEOGRAPHER:       The time is 12 o'clock and

    4     we're on the record.

    5                 MR. SCANLON:

    6          Q.     Ms. Rosas, continuing on with our discussion

    7     about your visit in November 2013 to Disneyland, just

    8     before the break, you testified that there was a

    9     significant advantage to not have to stand in the actual

   10     line.     But on the first day of your visit of that trip,

   11     you actually did stand in the line that day, right?

   12          A.     Yes.

   13          Q.     And you were able to -- with your son, right?

   14          A.     Mm-hmm.

   15          Q.     And that was not a problem, right?

   16          A.     Right.

   17          Q.     And -- and those lines were about 25 minutes

   18     long, right?

   19          A.     I think even less than that.           It was -- our

   20     first day to the park was on a Thursday, so lines were

   21     fairly short.

   22          Q.     Okay.    But do you remember answering an

   23     interrogatory answer in which you said that the lines

   24     that day were about -- they were fairly short and you

   25     described them as 25 minutes long?


                                     U.S. LEGAL SUPPORT                       Exhibit 1FF
                                                White Decl. ISO Disney's SJ Motion P.0638
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    1          A.    About 20 to 25 minutes long, yes.

    2          Q.    No.     You said 25 minutes, not 20 to 25.

    3          A.    Oh, okay.

    4          Q.    So let's mark this as the next exhibit.

    5                (Exhibit 8 was marked for identification.)

    6          Q.    So if you look at this document, and please

    7     turn to the last page.       And you signed these -- you

    8     signed this verification that these answers to our

    9     questions, that's what an interrogatory is, just a fancy

   10     word for questions.      That your answers were true.             Under

   11     penalty of perjury that they were true and correct,

   12     right?

   13          A.    Correct.

   14          Q.    And you signed this document after reading it,

   15     right?

   16          A.    Yes.

   17          Q.    Okay.    And if you look at the answer on page

   18     ten to the question about the accommodations you

   19     received, this was 8A.       The answer was eight, and the

   20     subpart was 8A.      And it's on page ten.

   21                And it says:     Lines were around 20 -- this is

   22     on line -- starting on line three.

   23                "Lines were around 25 minutes, so we tried

   24     waiting in them, and the family members took turns

   25     helping to occupy the kids."


                                    U.S. LEGAL SUPPORT                       Exhibit 1FF
                                               White Decl. ISO Disney's SJ Motion P.0639
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    1                Then you go on to talk about the second day.

    2     So does that -- that's where you said the lines were --

    3     were around 25 minutes, right?

    4          A.    8A, you said?

    5          Q.    It's on -- it's on page ten in the -- in the

    6     continuation in answer 8A.         It's not the beginning of

    7     8A, but it's in the middle of 8A.

    8          A.    Oh.

    9          Q.    On line three on page ten of this document.

   10     Line -- the line number's over on the left-hand column.

   11                MR. FELDMAN:     Where it says "lines were around

   12     25 minutes"?

   13                MR. SCANLON:

   14          Q.    Do you see that?

   15          A.    Yes.

   16          Q.    Okay.    So -- so you stood in the regular lines

   17     without problems for 25 minutes each line, around

   18     25 minutes.      And you also described that waiting as

   19     short and bearable, didn't you?

   20                Not in this document, but in the complaint.

   21     When you filed the complaint in this case, you described

   22     that wait, the 25-minute wait in the regular line, as

   23     short and bearable, right?

   24          A.    Right.

   25          Q.    Okay.    And so do you know -- these were


                                    U.S. LEGAL SUPPORT                       Exhibit 1FF
                                               White Decl. ISO Disney's SJ Motion P.0640
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    1          Q.     Okay.   So -- so if -- if the rides that you

    2     were interested in going on were 25 minutes or less, you

    3     could have stood in the regular line, and -- and gone

    4     through a line.     Or if they were 35 minutes or less, you

    5     could have gotten a DAS return.

    6                 Then your -- your return time would have been

    7     25 minutes later, right?         And so then the wait would

    8     have been 25 minutes, but it wouldn't have been in line.

    9     You could have done -- gone to another ride.                 You could

   10     have gone and gotten something to eat.              You could do

   11     anything, right?

   12                 MR. FELDMAN:     Objection.      The question is

   13     compound.

   14                 MR. SCANLON:

   15          Q.     Okay.   Do you understand what the question is?

   16          A.     Can you summarize it?        It's --

   17          Q.     Sure.   What I'm trying to say is that because

   18     you've testified that you were able to wait in line on

   19     the first day for around 25 minutes, then if a ride had

   20     a -- had a -- a wait time of 25 minutes or less, you

   21     would have been able to stand in the regular line and

   22     get on the ride, right?

   23          A.     Yes.

   24          Q.     What you were concerned about, I assume, was

   25     rides that were an hour- or two-hour wait, right?


                                     U.S. LEGAL SUPPORT                       Exhibit 1FF
                                                White Decl. ISO Disney's SJ Motion P.0641
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    1          Q.     So let's go down and look at the wait times.

    2     And then what we did was we did a summary at the bottom

    3     of this.    So if you look at it, of the 20 attractions

    4     that you identified or that were on your DAS card, 17

    5     had an average posted wait time that was less than

    6     25 minutes and 18 had one that was 25.5 minutes.                  Do you

    7     see that?

    8          A.     Yes.

    9          Q.     Okay.

   10                 MR. FELDMAN:     I'll object.       The document speaks

   11     for itself.

   12                 MR. SCANLON:     Okay.

   13                 MR. FELDMAN:     Counsel, you just seem to be

   14     reading it into the record.

   15                 MR. SCANLON:     Well, I -- I want to -- I want to

   16     -- I'm going to get to some questions.              I just want to

   17     make sure that she understands this.

   18          Q.     19 had an average posted wait time that was

   19     less than 35 minutes.        Do you see that at the bottom?

   20          A.     Yes.

   21          Q.     So I'll allow you to take a few minutes and

   22     look at this to make sure that you think our math was

   23     correct.    But if that's right, what that means was you

   24     would have been able to go on that day every ride except

   25     one without -- with your DAS card without waiting any


                                     U.S. LEGAL SUPPORT                       Exhibit 1FF
                                                White Decl. ISO Disney's SJ Motion P.0642
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    1     In terms of how much schlepping you'd have to do back

    2     and forth?

    3          A.     I'm sorry.      What was the question?

    4          Q.     Right.    Well, you -- you thought there were

    5     only two kiosks, which is why you said you had to do so

    6     much walking.      But if there were actually nine kiosks

    7     instead of two, that would be a big difference, wouldn't

    8     it, in terms of how much walking you'd have to do?

    9          A.     Yes.

   10                 MR. FELDMAN:      Objection.      Assumes facts not in

   11     evidence.

   12                 MR. SCANLON:      We can take a break now.

   13                 THE VIDEOGRAPHER:        The time is 1:08, and we are

   14     off the record.

   15                 (Break taken.)

   16                 THE VIDEOGRAPHER:        The time is 1:19, and we are

   17     on the record.

   18                 MR. SCANLON:

   19          Q.     Ms. Rosas, do you intend to keep your children

   20     out of school until after the IEP decision's made in

   21     December?

   22          A.     Yes.     Yes.

   23          Q.     Are they receiving any kind of educational

   24     treatment or anything during the day now?

   25          A.     No.    Just their ABA.


                                      U.S. LEGAL SUPPORT                       Exhibit 1FF
                                                 White Decl. ISO Disney's SJ Motion P.0643
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    1          Q.    And how often does the ABA staff come?

    2          A.    My son receives 20 hours a week, so his

    3     schedule is 8:30 to 12:30.        Fridays is the longer day,

    4     which they can come for a p.m. session or afternoon

    5     session.    My daughter receives 30 hours a week, so she

    6     has a little more coverage.        And Tuesdays and Thursdays

    7     are her longer days.

    8          Q.    Okay.   You answered one of the supplemental

    9     interrogatory answers that one of the trips you took

   10     after the first set of interrogatories was you went to

   11     Las Vegas?

   12          A.    Yes.

   13          Q.    Is that about a nine- or ten-hour drive from

   14     here?

   15          A.    Yes, roughly.

   16          Q.    And you drove there?

   17          A.    Yes, sir.

   18          Q.    And drove back?

   19          A.    Yes, sir.

   20          Q.    With your son and daughter?

   21          A.    Yes.

   22          Q.    Was anybody else in the car?

   23          A.    No, it was just my husband and the two kids.

   24          Q.    And what did you do in Las Vegas?

   25          A.    Oh, we stayed at the pool.


                                   U.S. LEGAL SUPPORT                       Exhibit 1FF
                                              White Decl. ISO Disney's SJ Motion P.0644
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    1          A.     Right.

    2          Q.     Did you just research it online or something?

    3          A.     No, my nephews back in middle school and high

    4     school participated in band, in the school band.                    And

    5     Disney has, I guess, a program where every two years

    6     they do a concert of all the schools that want to

    7     participate.       And they sell the tickets for extended

    8     family, and that's how we purchase our tickets.

    9          Q.     That -- they were there at the time you were

   10     there or they just got these tickets because of the band

   11     connection?

   12          A.     It was the band connection, and you could use

   13     the tickets up to for a year, I think.

   14          Q.     Oh, I see.    Okay.       And did you get them at a

   15     discount?

   16          A.     Yes.

   17          Q.     Or did you get them for free?

   18          A.     No, no, no.       At a discount.        I think it was

   19     like 20 or $30 cheaper.

   20          Q.     Okay.    Okay.     And did you have any contracts

   21     with Disney when you went there?              Did you have any

   22     contracts that you engaged with at Disney?

   23          A.     No.

   24          Q.     Okay.    Did you buy any -- other than food, did

   25     you buy any Disney products when you were there?


                                       U.S. LEGAL SUPPORT                       Exhibit 1FF
                                                  White Decl. ISO Disney's SJ Motion P.0645
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    1     blaming Disney for the fact that your son has a history

    2     of meltdowns --

    3          A.    No.

    4          Q.    -- over his -- over his life, right?

    5          A.    No.

    6          Q.    Over -- well, he has done -- had meltdowns at

    7     school, right?

    8          A.    Yes.

    9          Q.    Okay.    And he has meltdowns in other aspects of

   10     life, right?

   11          A.    Right.    And at school his meltdowns are -- are

   12     different.    And he goes from flipping a table, a desk, a

   13     chair to -- try to physically harm somebody else, like

   14     throwing a punch or throwing a slap.

   15          Q.    Okay.    And how many meltdowns did he experience

   16     at Disneyland -- and let's -- let's talk about the

   17     November visit.

   18          A.    I don't recall the exact number, but it was a

   19     fairly amount.      I don't know, six, eight.

   20          Q.    Okay.    And did you have -- these six to eight

   21     meltdowns -- do you recall how many there were each day?

   22     Was there more on one day than another?

   23          A.    The -- the second and the third day were -- I

   24     think the second was the hardest.          The third one I

   25     wasn't just pushing to -- to -- to do rides or anything.


                                   U.S. LEGAL SUPPORT                       Exhibit 1FF
                                              White Decl. ISO Disney's SJ Motion P.0646
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    1                THE WITNESS:     He was upset.

    2                MR. FELDMAN:

    3          Q.    Okay.   And did he end up having a meltdown?

    4          A.    Yes.    On -- on most occasions, yes.

    5          Q.    So would you say that he had multiple meltdowns

    6     on either the second or third day?

    7          A.    Yes.

    8                MR. SCANLON:     Objection.      Leading.

    9                MR. FELDMAN:

   10          Q.    Okay.   All right.      Now Mr. Scanlon asked you

   11     about the number of kiosks that were available to -- to

   12     get the -- the DAS pass, right?

   13          A.    Mm-hmm.

   14          Q.    Okay.   And as far as you were aware, how many

   15     locations were there in Disneyland?

   16          A.    I -- I was -- I only recall having to go to --

   17     to one.    I don't even recall that I was informed that I

   18     could go back to the -- to the first one where I had got

   19     the card to get a -- a next ride.

   20          Q.    Okay.   All right.      And you've already testified

   21     about the fast passes.       Were there any rides that you

   22     weren't able to get fast passes for?

   23          A.    Yeah.   The -- the ones that I tried, they were

   24     just gone.

   25          Q.    Okay.   Did -- did you -- when you went into the


                                    U.S. LEGAL SUPPORT                       Exhibit 1FF
                                               White Decl. ISO Disney's SJ Motion P.0647
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    1     park, you had a -- you had a -- a ticket of some sort,

    2     right?

    3          A.    Right.

    4          Q.    Okay.    And did you ever look at the -- the back

    5     of the ticket?

    6          A.    The fine print?

    7          Q.    Yeah, the fine print.

    8          A.    No.

    9          Q.    Okay.    So you -- you -- you recall seeing some

   10     print on the back of it -- of the ticket, but you've

   11     never actually --

   12          A.    Read it?

   13          Q.    Seen what -- what it says?

   14          A.    No.

   15          Q.    So you have no idea what it says?

   16          A.    No.

   17          Q.    Okay.    All right.    And did you have -- were you

   18     expecting that -- that the other members of your party

   19     were going to take care of your son or did you view that

   20     as your responsibility?

   21          A.    No, it was my responsibility.

   22          Q.    Okay.    Would you like to be able to go back to

   23     Disneyland for a visit with your son?

   24          A.    I -- don't get me wrong.        We love Disney.         My

   25     son loves Disney movies.       He scripts the movies.           He has


                                   U.S. LEGAL SUPPORT                       Exhibit 1FF
                                              White Decl. ISO Disney's SJ Motion P.0648
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    1                  MR. SCANLON:

    2           Q.     You said that there were six to eight meltdowns

    3     at Disney.      Are you referring to the three days in

    4     November when you were there?

    5           A.     Yes.

    6           Q.     And given your prior testimony that at that

    7     time in his life, December or November of 2013, he would

    8     have that reaction; yelling, crying, aggression, or

    9     falling to the floor in nearly 100 percent of the

   10     opportunities when he's denied access to preferred

   11     items, six to eight times at Disney, with all the

   12     opportunities he'd have for preferences there, is -- was

   13     completely consistent with his life at that point,

   14     right?

   15                  You've already -- I already asked you about

   16     that.      You said yes that was true.          At that time in his

   17     life, that -- this finding was accurate in the STI

   18     Consultants report.      Remember that?

   19           A.     Yes.

   20           Q.     Okay, so this wasn't out of the ordinary, was

   21     it?

   22           A.     No, it wasn't, but I could tell the difference

   23     from a meltdown or a tantrum.            Because he's denied

   24     something, then the frustration of not being able to

   25     access something that he wants and needs to experience.


                                      U.S. LEGAL SUPPORT                       Exhibit 1FF
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    1            Q.   Well, he -- he wanted these opportunities.                It

    2     says "when he's denied access to preferred items" or

    3     required a transition away from preferred items, he said

    4     he would have this meltdown in 100 percent of the

    5     opportunities, right?

    6            A.   Right.

    7            Q.   That's what they found?

    8            A.   That's what they found, because ABA was fairly

    9     new.     They were beginning to treat ABA.

   10            Q.   Right.    And that was the same time that you

   11     went to Disneyland, wasn't it?

   12            A.   Mm-hmm.

   13            Q.   So -- so six to eight times in three days at a

   14     park like Disneyland?

   15            A.   No, his -- I don't believe his answer was for

   16     the three days.       I think his -- I refer to the --

   17            Q.   No.     The question was how many did he have in

   18     your trip to Disneyland.         You said six to eight

   19     meltdowns?

   20            A.   Oh, well, I meant to say per day.

   21            Q.   Well, but you said -- you didn't say per day?

   22            A.   Okay.

   23            Q.   But either way, it -- that was not out of the

   24     ordinary, was it, at that time in his life?

   25            A.   No.


                                     U.S. LEGAL SUPPORT                       Exhibit 1FF
                                                White Decl. ISO Disney's SJ Motion P.0650
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    1          Q.    Okay.    You also said that -- you mentioned a

    2     concept of waiting.      That your son doesn't understand

    3     the concept of waiting.       Well, that's one of the things

    4     you've worked on at -- and -- and that's one of the

    5     things you work on with ABA therapy, right?              That's one

    6     of the preferred things.       They want something right

    7     away, right?    Correct?

    8          A.    Correct.

    9          Q.    And you know that the reason they teach kids

   10     with autism to not want everything right away is because

   11     that's not how the world is going to be when they grow

   12     up; they can't have everything right when they want it,

   13     correct?

   14          A.    Correct.

   15          Q.    And so it's a very important principle of ABA

   16     therapy, which your son has succeeded in, and you've

   17     said that they learned to not think they can have

   18     everything just because they want it, correct?

   19          A.    Correct.

   20          Q.    And so one of the things that you learned in

   21     ABA therapy is that you can't have anything right when

   22     you want it, and you have to wait for things sometimes,

   23     right?

   24          A.    Right.

   25          Q.    Okay.    And he is -- he has progressed in that,


                                   U.S. LEGAL SUPPORT                       Exhibit 1FF
                                              White Decl. ISO Disney's SJ Motion P.0651
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    1     right?    He's been -- he has improved in his ability to

    2     wait, hasn't he?

    3          A.    He has improved somewhat.          That doesn't mean

    4     that he doesn't show a meltdown or a behavior.

    5          Q.    Right.   But it can happen for anything that he

    6     is required to wait for, right?

    7          A.    Yes.

    8          Q.    Right.   And -- and in your house, he would have

    9     to wait to go to the bathroom sometimes, right?                 Because

   10     you had two bathrooms and nine people living there?

   11          A.    Correct.

   12          Q.    All right.    Okay.     And you said he doesn't

   13     understand the concept of time, but you already

   14     testified that he could read time and understood time.

   15          A.    One thing is --

   16          Q.    Right?

   17                MR. FELDMAN:     Objection.      That misstates her --

   18     her testimony.

   19                MR. SCANLON:

   20          Q.    Well, I understand that, you know, that he

   21     wanted to do things right away.           But to say he doesn't

   22     understand the concept of time; he understands a -- a

   23     clock goes around.      He could tell the time, right?

   24          A.    He could tell time.        He does not understand the

   25     concept -- concept of waiting.


                                    U.S. LEGAL SUPPORT                       Exhibit 1FF
                                               White Decl. ISO Disney's SJ Motion P.0652
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    1     STATE OF CALIFORNIA )
                              )
    2     COUNTY OF ALAMEDA   )

    3                I, TAMMY MOON, CSR No. 13184, Certified

    4     Shorthand Reporter, do hereby certify:

    5                That prior to being examined, the witness in

    6     the foregoing proceedings was by me duly sworn to

    7     testify to the truth, the whole truth, and nothing but

    8     the truth;

    9                That said proceedings were taken before me at

   10     the time and place therein set forth and were taken down

   11     by me in shorthand and thereafter transcribed into

   12     typewriting under my direction and supervision;

   13                I further certify that I am neither counsel

   14     for, nor related to, any party to said proceedings, nor

   15     in any way interested in the outcome thereof.

   16                In witness whereof, I have hereunto subscribed

   17     my name.

   18                Dated:   19th of November, 2019

   19

   20

   21

   22                                          Tammy Moon, CSR No. 13184

   23

   24

   25


                                   U.S. LEGAL SUPPORT                       Exhibit 1FF
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